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VOLENFARY FRITIGN

United States Bankruptcy Court
Northern District of Texas
Dallas Division

VOLUNTARY PETITION

Name of Debtor (if individual, enter Last, First, Middle):
CANYON CAFE OF TEXAS, LP

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by Debtor in the last 6 years
(include married, maiden, and trade names):

All Other Names used by Joint Debtor in the last 6 years
(include married, maiden, and trade names):

Soc. Sec./Tax I.D. No. (if more than one, state all):
XX-XXXXXXX

Soc. Sec./Tax I.D. No. (if more than one, state all):

Street Address of Debtor (No. & Street, City, State & Zip Code):
Hancock at Washington
Madison, Georgia 30650

Street Address of Debtor (No. & Street, City, State & Zip Code):

County of Residence or of the
Principal Place of Business:
Morgan County

County of Residence or of the
Principal Place of Business:

Mailing Address of Debtor (if different from street address):

Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor
(if different from addresses listed above):

INFORMATION REGARDING DEBTOR (Check the Applicable Boxes) _

Venue (Check any applicable box)

or for a longer part of such 180 days than in any other District.

QO Debtor has been domiciled or has had a residence, principal place of business or principal assets in this District for 180 days immediately preceding the date of this petition

& There is a bankruptcy case concerning debtor's affiliate, general partner, or parmership pending in this District.

Type of Debtor (Check all boxes that apply)
O Railroad
0 Stockbroker
O Commodity Broker

O Individual
O Corporation
& Partnership
O Other

Nature of Debts (Check one box)
OD Consumer/Non-Business ® Business

Chapter or Section of Bankruptcy Code Under Which
the Petition Is Filed (Check one box)
O Chapter 7 ® Chapter 11 0 Chapter 13
0 Chapter 9 O Chapter 12
O Sec. 304-Case ancillary to foreign proceeding

Chapter 11 Small Business (Check all boxes that apply)
O Debtor is a smail business as defined in 11 U.S.C. § 101.
O Debtor is and elects to be considered a small business under
11 U.S.C. § 1121(e). (optional)

Filing Fee (Check one box)
® Full Filing Fee attached.
QO Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration certifying that the

debtor is unable to pay fee except in installments. Rule 1006(b). See Official
Form No. 3.

Statistical/Administrative Information(Estimates only) THIS SPACE IS FOR COURT USE
& Debtor estimates that funds will be available for distribution to unsecured creditors. ONLY
QO Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
be no funds available for distribution to unsecured creditors
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999 1,000-over*
oO oO oD oO O w

Estimated Assets
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million *

Oo Bb O 0 Oo 0 O gy
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

Oo O Oo 0 oO O Oo wg

* The estimates reflect consolidated information from Avado Brands, Inc. and its affiliates (collectively, the "Avado Entities", listed on the
attached Annex A) filing voluntary petitions with the United States Bankruptcy Court for the Northern District of Texas - Dallas Division

on February 2004.

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VOLUNTARY PETITION VOCUTTTETIC [Nine hbrlsyO Form B1, Page 2
(This page must be completed and filed in every case) CANYON CAFE OF TEXAS, LP
Prior Bankruptcy Case Filed Within Last 6 Years (if more than one; attach additional sheet)
Location Case Number: Date Filed:
Where Filed: None
Pending Bankruptcy Case Filed by Any Spouse, Partner, or Affiliate of this Debtor (more than one, attach additional sheet.)
IName of Debtor: See Annex A Case Number: Date Filed:
District: Relationship: Judge:
SIGNATURES

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this petition is
true and correct.
[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] J am aware that I may proceed under chapter 7, 11, 12
lor 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.
I request relief in accordance with the chapter of title 11, United States Code, speci-
fied in this petition.

x
Signature of Debtor

xX
Signature of Joint Debtor

Telephone Number (If not represented by attorney)

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of the
debtor.

The debtor requests relief oy ordance with the chapter of title 11, United States

x a KE A
Signature of Autportzey/ndivedual 7 J

Kevin J. Leary
Name of Authorized Individual

Authorized Signatory for Canyon Café of Texas, LP
Title of Authorized Individual

February i} 2004

Date
Date
ignature of Attorney Signature of Non-Attorney Petition Preparer
fee ZZ I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I
Signature of A’ ey for Bebtor(s) prepared this document for compensation, and that I have provided the debtor with a

George N. Panagakis
Printed Name of Attorney for Debtor(s)

Skadden, Arps, Slate, Meagher & Flom LLP
Firm Name

333 W. Wacker Drive, Chicago, IL_ 60606-1285
Address

(312) 407-0700
Telephone Number

February 4 2004
Date

copy of this document.

Printed Name of Bankruptcy Petition Preparer

Social Security Number

Address

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document:

EXHIBIT A
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
of the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
O Exhibit A is attached and made a part of this petition.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

x
Signature of Bankruptcy Petition Preparer

EXHIBIT B
(To be completed if debtor is an individual whose debts are primarily consumer debts)
I, the attorney for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of
title 11, United States Code, and have explained the relief available under each such
chapter.

x

Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or imprison-
ment or both It U.S.C. § 110; 18 U.S.C.§ 156.

Signature of Attorney for Debtor(s) Date

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
— me mm we mmm x
In re :
: Chapter 11
CANYON CAFE OF TEXAS, LP,
: Case No. 04- ( )
Debtor. :
Sm mm mee meee x

CONSOLIDATED LIST OF CREDITORS HOLDING 50 LARGEST
UNSECURED CLAIMS

A list of the creditors holding the 50 largest unsecured claims against
Canyon Café of Texas, LP, and certain of its subsidiaries and affiliates, (collec-
tively, the "Avado Entities") was included with the petition of Don Pablo's of
Texas, LP. The list has been prepared on a consolidated basis, based upon the
books and records of the Avado Entities, all of which have contemporaneously
commenced chapter 11 cases in this Court. The information presented in the list
shall not constitute an admission by, nor is it binding on, the Avado Entities.'

The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for
filing in this chapter 11 case. The list does not include (1) persons who come
within the definition of "insider" set forth in 11 U.S.C. § 101 or (2) secured
creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 50 largest unsecured claims.”

The Avado Entities may file the schedules of assets and liabilities (the “Schedules”) in accordance with 1] U.S.C. § 521 and
Fed. R. Bankr. P. 1007. The information contained in the Schedules may differ from the information set forth below.

The Avado Entities have not yet identified all of the 50 largest unsecured claims, if any, that are contingent, unliquidated,
disputed and/or subject to setoff. The Avado Entities reserve the right to identify any of the 50 largest unsecured claims in
their Schedules as contingent, unliquidated, disputed and/or subject to setoff, as appropriate.

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RESOLUTIONS OF CANYON CAFE OF TEXAS, LP

Dated as of February 4 , 2004

Pursuant to Section 4.05 of the Texas Revised Limited Partnership
Act and the Agreement of Limited Partnership of Canyon Cafe of Texas, LP, a
Texas Limited Partnership (the "Limited Partnership"), the undersigned, as sole
general partner of the Limited Partnership (the "General Partner"), does hereby
adopt the following Resolutions:

WHEREAS, the General Partner has been presented
with a proposed petition to be filed by the Limited Partnership
in the United States Bankruptcy Court for the Northern Dis-
trict of Texas - Dallas Division (the "Bankruptcy Court")
seeking relief under the provisions of chapter 11 of title 11 of
the United States Code, in which the authority to operate as a
debtor-in-possession will be sought; and

WHEREAS, the General Partner has reviewed the
proposed petition and wishes to take actions that are in the
best interests of the Limited Partnership, its creditors, its
partners and other interested parties.

NOW THEREFORE, BE IT RESOLVED, that in the
judgment of the General Partner it is desirable and in the best
interests of the Limited Partnership, its creditors, its partners
and other interested parties, that a petition be filed by the
Limited Partnership in the Bankruptcy Court seeking relief
under the provisions of chapter 11 of title 11 of the United
States Code (the "Bankruptcy Code"), in which the authority
to operate as a debtor-in-possession will be sought, and the
filing of such petition is authorized hereby; and it is further

RESOLVED, that each of Kevin J. Leary, Michael A.
Feder, Louis J. Profumo and Edward M. Burr be appointed by
the General Partner as an authorized signatory (each, an "Au-
thorized Signatory") and a Vice President and Assistant Secre-
tary in connection with the chapter 11 case authorized herein;
and it is further
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RESOLVED, that each Authorized Signatory and each
officer of the Limited Partnership, together with any other
person or persons hereafter designated by the General Partner,
or any one of such persons (each, individually, an "Authorized
Officer," and, individually and collectively, the "Authorized
Officers") be, and each of them hereby is, authorized, empow-
ered and directed, on behalf of the Limited Partnership, to
execute and verify a petition in the name of the Limited Part-
nership under chapter 11 of the Bankruptcy Code and to cause
the same to be filed in the Bankruptcy Court in such form and
at such time as the Authorized Officer executing said petition
on behalf of the Limited Partnership shall determine; and it is
further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized, directed and empowered, on
behalf of and in the name of the Limited Partnership, to exe-
cute and/or file, or cause to be executed and/or filed (or to
direct others to do so on their behalf as provided herein) all
necessary documents including, but not limited to, all peti-
tions, affidavits, schedules, motions, lists, applications, plead-
ings and other papers, and in that connection to employ and
retain all assistance by legal counsel, accountants or other
professionals and to take any and all other action, that they or
any of them deem necessary, proper or desirable in connection
with the chapter 11 case contemplated hereby, with a view to
the successful prosecution of such case; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Limited Partnership, to take or cause to be
taken, from time to time, any and all such further action and to
execute and deliver, or cause to be executed and delivered, all
such further agreements, documents, certificates and undertak-
ings including, but not limited to, amendments to the docu-
ments contemplated hereby following the effectiveness
thereof, and to incur all such fees and expenses as in their
judgment shall be necessary, appropriate or advisable, to
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effectuate the purpose and intent of the foregoing resolutions;
and it is further

RESOLVED, that the Limited Partnership as debtor
and debtor-in-possession under chapter 11 of the Bankruptcy
Code be, and it hereby is, authorized to enter into a debtor-in-
possession financing facility, and in connection therewith, to
grant any guarantees, pledges, mortgages, and other security
instruments containing such provisions, terms, conditions,
covenants, warranties and representations as may be deemed
necessary or appropriate by any Authorized Officer to obtain
such debtor-in-possession financing for the Limited Partner-
ship or its subsidiaries and affiliates; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered to execute,
deliver, and perform for and on behalf of the Limited Partner-
ship, as debtor and debtor-in-possession, any documents,
agreements, guaranties, instruments, financing statements,
undertakings and certificates necessary or appropriate to facili-
tate the transactions contemplated by the foregoing resolution
including, but not limited to, any credit agreement, promissory
note, letter of credit application, or other document evidencing
the obligations of the Limited Partnership under the debtor-in-
possession financing, and any modifications or supplements
thereto, all such materials to be in the form approved by such
Authorized Officers, the execution and delivery thereof to be
conclusive evidence of such approval; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized and empowered for and in the
name and on behalf of the Limited Partnership to amend,
supplement or otherwise modify from time to time the terms
of any documents, certificates, instruments, agreements or

other writings referred to in the foregoing resolutions; and it is
further
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RESOLVED, that the law firm of Skadden, Arps,
Slate, Meagher & Flom LLP, 333 West Wacker Drive, Chi-
cago, Illinois 60606-1285, and its affiliated law practice enti-
ties be, and hereby are, employed under a general retainer as
attorneys for the Limited Partnership in the chapter 11 case;
and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Limited Partnership, to retain such other
professionals as they deem appropriate during the course of
the chapter 11 case; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized, in the name and on behalf of the
Limited Partnership, to take or cause to be taken any and all
such further action and to execute and deliver or cause to be
executed or delivered all such further agreements, documents,
certificates and undertakings, and to incur all such fees and
expenses as in their judgment shall be necessary, appropriate
or advisable to effectuate the purpose and intent of any and all
of the foregoing resolutions; and it is further

RESOLVED, that all acts lawfully done or actions
lawfully taken by any Authorized Officer to seek relief on
behalf of the Limited Partnership under chapter 11 of the
Bankruptcy Code, or in connection with the chapter 11 case, or
any matter related thereto, including in connection with the
debtor-in-possession financing, be, and they hereby are,
adopted, ratified, confirmed and approved in all respects as the
acts and deeds of the Limited Partnership.

When signed by the General Partner, these resolutions
shall be effective as of the date first written above.
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IN WITNESS WHEREOF, the undersigned has executed these
Resolutions of the General Partner as of the date first written above.

General Partner:
Canyon Café TX G

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